1. "No election shall be defeated for noncompliance with the requirements of the law, if held at the proper time and place by persons qualified to hold it, unless it is shown that, by such noncompliance, the result is different from what it would have been had there been proper compliance." Code, § 34-3101. Accordingly, since it is not contended in the instant case that the result of the election would have been different, it is unnecessary to determine whether an unspecified number of persons, whose names did not appear on the voters' list for the last general election, were properly or improperly denied the right to vote in an election held for the purpose of authorizing a bond issue within a county school district. See  Cloud v. Maxey, 195 Ga. 90 (23 S.E.2d 668); Chamlee
v. Davis, 115 Ga. 266 (41 S.E. 691); Brumby v.  Marietta, 132 Ga. 408 (2) (64 S.E. 321); Alexander v.  Ryan. 202 Ga. 578 (43 S.E.2d 654); Coleman v. Board of Education, 131 Ga. 643 (9) (63 S.E. 41). *Page 100 
2. A consolidated county school district is a separate political division of this State such as is authorized to incur a bonded indebtedness up to 7 percent of the assessed valuation of its taxable property, independently of and in addition to any outstanding bonded indebtedness incurred by any of its component former local school districts prior to their merger into a county-wide school district.
(a) Under the above ruling, the fact that a former local school district may already have a bonded indebtedness which, when added to its proportionate share of a proposed bonded indebtedness by a county-wide school district of which it is a component part, will exceed 7 percent of the assessed valuation of the taxable property of such former local school district, does not make such proposed bond issue by the county school district invalid as being violative of the provisions of art. VII, sec. VII, par. I, of the Constitution of Georgia.
3. Under the stipulated facts, the proposed bond issue in the amount of $550,000, by Walker County School District, independent of outstanding bonded indebtedness of its former local school districts, does not exceed 7 percent of the assessed valuation of its combined taxable properties under the tax digest either of 1946 or of 1947, and it follows, therefore, that the trial court did not err in entering an order validating said bonds.
                      No. 16008. NOVEMBER 14, 1947.
              STATEMENT OF FACTS BY JENKINS, CHIEF JUSTICE.
The Solicitor-General of the Rome Judicial Circuit instituted proceedings against Walker County School District for the purpose of validating bonds in the amount of $550,000, to be issued for the purpose of building and equipping schoolhouses in said district, which bond issue was approved by a vote of 805 to 548 in an election held for that purpose. J. O. Pinion and others, citizens and taxpayers of said school district, filed an intervention and objected to the validation of said bonds on the ground that the election was invalid for the reason that certain qualified voters were denied the right to vote therein; and for the further reason that the proposed bond issue was in an amount prohibited under the 7 percent debt-limitation provisions of the Constitution of Georgia. (Art. VII, sec. VII, par. I; Code, Ann. Supp., § 2-6001.) The issues were tried on an agreed statement of facts, in which it is made to appear, that "The list of voters that was used in the bond election is identically the same list that was used at the last general election for members of the General Assembly, preceding the bond election, and that no persons who had qualified or registered with the tax collector or with the *Page 101 
board of registrars subsequent to the last general election and prior to the election for the bonds were added thereto or permitted to vote at the election." It was further made to appear from the stipulated facts that a bonded indebtedness in the amount of $550,000 does not exceed 7 percent of the assessed valuation of the taxable property in Walker County School District; but if Walker County School District is required to take into account and add the amount of outstanding bonded indebtedness of former local school districts which now comprise the Walker County School District, then the aggregate of the two amounts of indebtedness will exceed 7 percent of the assessed valuation of the taxable property within the Walker County District as measured by the valuations of the 1946 tax digest, but would not exceed 7 percent of the assessed valuation as measured by the 1947 digest. The trial court dismissed the interventions and entered an order validating said bonds. Exceptions are to that order.
The plaintiffs in error contend that the following questions are presented for determination: "(1) The election being called to be held on the 30th day of May, 1947, and the proposed bonds to be dated July 1, 1947, the question arises as to whether, in determining the amount of the taxable values of the property located in the school districts, . . the digests for the year 1946 would apply, or whether the digests for the year 1947 would apply? (2) That after the act of 1946, whereby all of the local school districts in Walker County, with the exception of the independent school districts, were consolidated into one district, as to whether or not the outstanding bonds of the respective local school districts should be added together and this added to the proposed $550,000 of bonds in determining as to whether or not that would exceed 7 per centum of the assessed tax values of the property located in the school district. (3) That the old LaFayette School District had outstanding $90,000 of school bonds at the time of the election and of the validation, and that the value of the property located in the LaFayette School District is approximately one-fifth of the entire value of the taxable property located in the Walker County School District, and this together with the $90,000 of bonds and its proportionate part of the proposed $550,000 of bonds, would be in excess of $200,000 of *Page 102 
bonds, and would be far in excess of 7 per centum of the taxable value of the property located in the LaFayette School District; and the question for determination is as to whether or not this would be a violation of the constitutional provision. (4) Whether or not persons registered and living in the Walker County School District subsequently to the date of the general election of 1946 were entitled to vote in the bond election."
It is provided by art. VII, sec. VII, par. I of the Constitution of Georgia (Code, Ann. Supp., § 2-6001) in part as follows: "The debt hereafter incurred by any county, municipal corporation, or political division of this State except as in this Constitution provided for, shall never exceed seven per centum of the assessed value of all the taxable property therein." While the Constitution does not specifically say so, yet the frequently applied construction of this provision is that each separate political division of the State which has authority to issue bonds is authorized to incur an indebtedness up to 7 percent of the assessed valuation of its taxable property independently of any existing indebtedness of another district and separate municipality or other political body whose territory might be coextensive in whole or in part with that of its own. Under this construction of the Constitution, there are previous decisions of this court recognizing the validity of city bonds, being issued by a separate political division of the State, although located within the limits of a county having issued bonds of its own, where the aggregate would exceed the limit of 7 percent of the assessed property of the municipality thus bonded. There are also decisions recognizing former local school districts as separate political divisions of the State, such as were entitled to incur a bonded indebtedness independently of county bonded obligations.Jennings v. New Bronwood School Dist., 156 Ga. 15
(118 S.E. 560); Ty Ty Consolidated School Dist. v. Colquitt LumberCo., 153 Ga. 426 (112 S.E. 561). It necessarily followed that, upon the merger *Page 103 
by the General Assembly of such local school districts, in harmony with the provisions of the Constitution of 1945 (art. VIII, sec. V, par. I) into county-wide school districts, the new county-wide district would likewise constitute a separate political entity and could do as a unit that which its previous component parts could have done separately, and could therefore incur a bonded indebtedness independently of any indebtedness for general authorized county purposes, and this court has so held inNelms v. Stephens County School District, 201 Ga. 274
(39 S.E.2d 651). The only question raised in the Nelms case was whether the existence of county bonds for general county purposes such as for building a courthouse would prevent the issuance of county-wide consolidated school district bonds, where the two together exceeded 7 percent of the assessed valuation of the property to be taxed. The Nelms case simply applied the previous decisions as to the authority of former local school districts to incur a bonded indebtedness as a separate political division of the State, by holding that the consolidated district could do as a unit what the separate entities could have done separately. The question now raised — as to the effect of previous bond issues by local school districts, as affecting the power of the consolidated school district to issue bonds where the aggregate did not amount to more than 7 percent of the assessed valuation of the taxable property in the consolidated district, but was more than 7 percent of the value of the property of such previously bonded district, when its proportionate part of the consolidated issue is considered — was not involved in the Nelms case. These questions are, however, made by the present record. In determining whether the proposed bond issue of the consolidated school district will exceed the constitutional limitation, and in determining whether account must be taken of the outstanding bonded indebtedness of its former local school districts, the contention of the plaintiffs in error that such must be done would seem stronger had the Constitution provided, or had the legislature been able to provide (see Hines v. Etheridge, 173 Ga. 870, 880
(162 S.E. 113), and cases cited) and had it actually provided that the consolidated school district should assume the payment of the local school district issues. (But see the case just cited on this question.) However, the fact is that the General *Page 104 
Assembly has specifically declared that, "In any local or consolidated school district in any county where there is an outstanding bonded indebtedness created for the purpose of building schoolhouses or equipping schoolhouses . . the county board of education also shall annually, within the time required by law, or the terms of said bond issue, recommend to the fiscal authorities of the county, the levy upon the property subject to taxation in the district originally voting said bonds, such tax as may be necessary to provide a sinking fund for the retirement of said bonds and for paying the principal thereof and the interest thereon, in accordance with the terms under which said bonds were issued; this to be in addition to the general tax for the maintenance of the schools of said districts." (Italics ours.) Ga. L. 1946, p. 214.
The real and controlling question therefore is whether or not there is any language in the 7 percent debt-limitation provision of the Constitution which would require a separate and distinct political division of the State, created by the merger of other political divisions, to take into account any outstanding indebtedness of such former political divisions in computing the amount of indebtedness which it is authorized under the Constitution to incur. The Constitution merely provides that "The debt hereafter incurred by any county, municipal corporation or political division of this State . . shall never exceed seven per centum of the assessed value of all the taxable property therein." The language seems unambiguous. There is nothing to indicate that any political division, which is authorized to issue bonds, is prohibited from incurring for itself a bonded indebtedness so long as it does not exceed 7 percent of the assessed value of the property within the political division issuing the bonds. Nor does there seem to be anything which would prevent the previous decisions of this court, recognizing the right of cities and local school districts, as separate political divisions, to incur independent bonded indebtedness, from being given effect here. And since it is not contended that Walker County School District incurred the bonded indebtedness of its former local school districts, and certainly in the absence of specific legal statutory or a constitutional provision which would require the new county-wide school district to assume the payment of any outstanding bonded *Page 105 
indebtedness of its former local school districts, it follows that Walker County School District is not required to take into account any indebtedness of its former local school districts in computing the amount of indebtedness which it is authorized to incur; and as an independent political entity, it may incur indebtedness independently of and in addition to that outstanding in its former local school districts. Since, under the stipulated facts of this case, it is agreed that the proposed bond issue by Walker County School District in the amount of $550,000, independently of the outstanding bonded indebtedness of its former local school districts, does not exceed 7 percent of the assessed value of its taxable property, such bonded indebtedness is not prohibited by the Constitution, and the trial court did not err in entering an order validating said bonds.
Judgment affirmed. All the Justices concur, except Wyatt, J.,who took no part in the consideration or decision of this case.